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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (aka MtGox KK),            ) Case No. 14-_______ (___)
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

    ORDER PURSUANT TO 11 U.S.C. §§ 105, 1504, 1515, 1517 AND 1520 RECOGNIZING
         FOREIGN REPRESENTATIVE AND FOREIGN MAIN PROCEEDING

        Upon the Verified Petition for Recognition and Chapter 15 Relief (the “Petition”)1

seeking: (i) recognition of the Petitioner as the “foreign representative” as defined in section

101(24) of the Bankruptcy Code of the above-captioned debtor (“Debtor” or “MtGox”); and

(ii) recognition of the Debtor’s civil rehabilitation proceeding under Japanese law currently

pending before the Tokyo District Court, Twentieth Civil Division (the “Japan Proceeding”), as a

foreign main proceeding pursuant to sections 1515 and 1517 of Title 11 of the United States

Code (the “Bankruptcy Code”); and upon the hearing on the Petition and this Court’s review and

1
          Capitalized terms used but not otherwise defined herein shall have the same meanings ascribed to them in
the Petition.


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consideration of the Petition, the Gamlen Declaration, and the Karpeles Declaration, and the

Memorandum of Law;

        IT IS HEREBY FOUND AND DETERMINED THAT:2

        A.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334, and 11 U.S.C. §§ 109 and 1501.

        B.         The consideration of the Petition and the relief requested therein is a core

proceeding under 28 U.S.C. § 157(b)(2)(P).

        C.         Venue is proper before this Court pursuant to 28 U.S.C. § 1410.

        D.         Good, sufficient, appropriate and timely notice of the filing of the Petition and the

hearing on the Petition has been given by the Petitioner, pursuant to Bankruptcy Rules 1011(b)

and 2002(q) to: (i) the Debtor; (ii) Mr. Nobuaki Kobayashi, as supervisor and examiner of

MtGox; (iii) all parties to litigation pending in the United States in which the Debtor is a party as

of the time of the filing that the Petitioner is seeking to enjoin pursuant to section 1519 of the

Bankruptcy Code; (iv) the Office of the United States Trustee, Northern District of Texas; and

(v) such other parties as the Court may direct (collectively, the “Notice Parties”).

        E.         No objections or other responses were filed that have not been overruled,

withdrawn, or otherwise resolved.

        F.         This Chapter 15 case was properly commenced pursuant to sections 1504, 1509,

and 1515 of the Bankruptcy Code.

        G.         The Petitioner is a “person” pursuant to section 101(41) of the Bankruptcy Code

and is the “foreign representative” of the Debtor as such term is defined in section 101(24) of the

2
         The findings and conclusions set forth herein and in the record of the hearing on the Petition constitute
this Court’s findings of facts and conclusions of law pursuant to Rule 52 of the Federal Rules of Civil Procedure, as
made applicable herein by Rules 7052 and 9014 of the Federal Rules of Bankruptcy Procedure (“the Bankruptcy
Rules”). To the extent any of the findings of fact herein constitute findings of fact, they are adopted here as such.
To the extent any of the conclusions of law herein constitute finding of fact, they are adopted as such.


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Bankrupttcy Code, and
                  a   the Petiitioner has satisfied the requiremeents of secttion 1515 oof the

Bankrupttcy Code and
                   d Bankruptccy Rule 1007
                                         7(a)(4).

        H.
        H          The Japan
                       J     Proceeeding is pen
                                              nding in Jappan, where thhe Debtor’ss “center of main

interests,,” as referred            on 1517(b)(1) of Bankru
                       d to in sectio                    ruptcy Code,, is located aand, accordiingly,

the Japan
        n Proceedin
                  ng is a “foreeign main proceeding”
                                         p           pursuant too 1502(4) off the Bankruuptcy

Code, an
       nd is entitled
                    d to recognitiion as a foreeign main prroceeding puursuant to seection 1517((b)(1)

of the Baankruptcy Co
                    ode.

        I.         The Petitioner
                       P          iss the duly appointed
                                               a         reepresentativve of the D
                                                                                 Debtor withinn the

meaning of section 101(24) of th
                               he Bankruptccy Code.

        J..        The Petitioner
                       P          is entitled to all
                                                 a the relieff provided puursuant to sections 15200 and

1521(a)(4
        4) and (5) of
                   o the Bank
                            kruptcy Cod
                                      de without liimitation, beecause thosee protectionns are

necessary
        y to effectuaate the purp
                                poses of Chaapter 15 of tthe Bankrupptcy Code aand to protecct the

assets of the Debtor and
                     a the interrest of Debto
                                            or’s creditorss.

     BASED
     B     ONN THE FO
                    OREGOING G FINDING
                                     GS OF FA
                                            ACT AND AFTER DUE
DELIBE
     ERATION AND SUF FFICIENT CAUSE APPEARINNG THER
                                                  REFOR, IT
                                                          T IS
HEREBYY ORDERE
             ED THAT:

        1.         The Petition
                       P        is graanted.

        2.         The Japan
                       J     Proceeeding is reccognized as a foreign m
                                                                     main proceeeding pursuaant to

sections 1517(a) and
                   d 1517(b)(1) of the Bank
                                          kruptcy Codee, and all off the effects of recognitiion as

set forth in section 15
                      520 of the Bankruptcy
                                 B          Code
                                            C    shall appply.

        3.                                      her than the Petitioner and its exprressly authoorized
                   All peersons and entities (oth

representtatives and agents)
                     a       are hereby
                                 h      enjoin
                                             ned from eacch of the folllowing: (i) eexecuting aggainst

the Debto
        or’s assets lo                          king or contiinuing any aact to obtain possession of, or
                     ocated in thee US.; (ii) tak

exercise control overr, the Petition
                                   ner in conneection with itts representaation of the D
                                                                                       Debtor, or aany of



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the Debttor’s propertty in the U.S
                                 S. (the “Prop
                                             perty”); (iii)) taking or ccontinuing aany act to crreate,

perfect or
        o enforce a lien
                    l    or otherr security intterest, set-offf or other claim againstt the Petitionner in

connectio
        on with its representattion of the Debtor, thee Debtor, oor any of thhe Property;; (iv)

transferriing, relinquiishing or dissposing of any
                                               a Propertyy of the Deebtor to any person or eentity

other thaan the Petitio
                      oner and its expressly
                                   e         autthorized reppresentatives and agents;; (v) commenncing

or contin
        nuing any proceedings
                  p          , including, without lim
                                                    mitation, arrbitration, m
                                                                            mediation orr any

judicial, quasi-judiccial, adminisstrative or regulatory action, apppeal proceeding or process

       ver, against the
whatsoev            t Petitioneer in connecttion with its representatiion of the Deebtor, the Deebtor,

or any off the Propertty; (vi) seek
                                  king discoverry of any naature againstt the Petitionner in conneection

with its representation of the Debtor,
                               D       or against
                                          a       the Debtor; andd (vii) manaaging, exerccising

control over,
        o     or posseessing the Prroperty exceept as expresssly authorizzed by the Peetitioner.

        4.         This Court
                        C     shall retain jurisdiction with reespect to thee enforcemennt, amendmeent or

modificaation of this Order,
                      O      any reequests for additional
                                               a          reelief or any aadversary prooceeding broought

in and through this Chapter
                    C       15 caase, and any
                                            y request by aan entity forr relief from the provisioons of

this Ordeer, for cause shown, that is properly commencedd and within the jurisdicttion of this C
                                                                                               Court.

        5.         No acction taken by
                                    b the Petitio
                                                oner, the Deebtor, or each of their suuccessors, aggents,

representtatives, advisers or coun
                                 nsel, in prep
                                             paring, dissem
                                                          minating, appplying for, implementinng or

otherwisee acting in furtherance
                     fu          of
                                 o or in conn
                                            nection with the Japan P
                                                                   Proceeding, tthis Order, oor this

Chapter 15 case, or any adverssary proceed
                                         ding herein, or any furtther proceedding commeenced

hereundeer, shall be deemed
                     d      to constitute
                               c          a waiver
                                            w      of thhe immunityy afforded suuch person uunder

sections 306
         3 and 1510 of the Ban
                             nkruptcy Cod
                                        de.




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Dated:    March 9, 2014                  Respectfully submitted,
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                                                - and -

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